Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD Docket 09/17/2024 Page 1 of 9

@ No. 24/00990

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DEPARTMENT OF STATE

Go all to fohom these presents shell come, Greeting:
Certify That Brykyta K. Shelton,

whose name is subscribed to the document hereunto annexed, was at the time

of subscribing the same. Chief, Records Creation and Retention Division,

— ae ot __Passp ort S De ng ea as ms ee , Department of State, United States

of America, and that full faith and credit are due to his acts as such.

Iu testimony fahereat, I Antony J. Blinken

Secretary of State, have hereunto caused the seal of the
Department of State to be affixed and my name subscribed by the

Authentication Officer of the said Department, at the city of

if)

p cretary of State.
Qa
Issued pursuant to RS 161.5 USC 22. RS By —~ ~— — ~~
203.5 USC 158: Sec: I of Act of June 25. .
1948. 62 St. 946. 28 USC 1733: Sec:4 of Authentication Officer, Department of State
Act of May 26, 1949, 63 St. III, 5 USC 151;

and Secs. 104 and 332 of Act of June 27,
1952 66 St. 174 and 253, 8 USC 1104, 1443,
and 5 USC 140.

This certificate is not valid if it is removed or altered in any way whatsoever
Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD Docket 09/17/2024 Page 2 of 9

United States Department of State

Washington, D.C. 20520

In reply refer to: Case Nos.: E-2024-00624 / LE-2024000990
CA/PPT/S/RM/RRR — DOUGLAS, Patricia Gale

VIA CERTIFIED MAIL

Aisha Rahman, Special Agent

U.S. Department of Homeland Security
501 S. Flagler Drive Suite 500

West Palm Beach, FL 33401

Dear Ms. Rahman:

We are responding to your memorandum of July 31, 2024, requesting
certified passport records in connection with the criminal investigation of
Patricia Gale Douglas.

We conducted a search of our records as it pertains to Patricia Gale Douglas -
and were able to locate one document that appears relevant to your

request. After careful review of this document, we have determined that a
certified copy may be released in part. Enclosed, please find a certified copy |
of the document.

The documents are disclosed to your agency in-accordance with the
provisions of the Privacy Act (5 U.S.C. § 552a(b)(7)) for law enforcement
purposes only. Please be advised that the documents are protected by the
Privacy Act and may only be released by the Department of State.

SBU -PRIVACY OR PII
Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD.Docket 09/17/2024 Page 3 of 9

J.

Accordingly, your agency is prohibited from releasing this document to any
other agency, department, entity, or individual, outside of your request.
However, the documents may be released for court purposes.

We hope the enclosed document will be of assistance to you. If we can be

of further assistance, please let us know.

Sincer
Team Lead
Passport Services

Office of Records Management
Records Review and Release Division

SBU -PRIVACY OR PII
Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD Docket 09/17/2024 Pa e 4 of 9
United States Department of State

Washington, D.C. 20520

TO WHOM IT MAY CONCERN: |

|, Brykyta K. Shelton, Chief, Records Creation and Retention Division,
Office of Records Management, Passport Services Directorate, United States
Department of State, certify under penalty of perjury that, as Chief of the
Records Creation and Retention Division, | am the custodian of the passport
- files.

| further certify that: 1) the passport record attached hereto and listed
below, consisting of four pages, is a true copy of the original record in the
custody of the Passport Services Directorate of the United States
Department of State; 2) |am the custodian of this file, and 3) the record
attached to this certificate was:

A. Made at or near the time of the issuance of a passport, or the
occurrence of the matters set forth therein, by the person executing
the record with knowledge of the information provided therein;

B. Kept in the course of regularly conducted activity under the authority
of the Secretary of State to grant and issue passports; and,

C. Made during the regularly conducted activity as a regular practice.

under the authority of the Secretary of State to grant and issue
passports.

SBU -PRIVACY OR PII
Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD Docket 09/17/2024 Page 5 of 9

-2-

1. Application #761717792 for United States passport book
#AXXXXXXXX issued to Patricia Gale Douglas on
January 27, 2022, by the United States Department of State.
[Released in Part- Pursuant to the Freedom of Information Act,
subsection (b)(6) and section (b) of the Privacy Act (5 U.S.C. §
552a). We have redacted material, the release of which would
constitute a clearly unwarranted invasion of } Reese privacy -
of a third party.]|

| further state that this certification is intended to satisfy the following
provisions:

e Rule 44, Federal Rules of Civil Procedure
e Rule 27, Federal Rules of Criminal Procedure

e Rule 902, Federal Rules of Evidence, under Title 28, United States Code
Annotated

Sincerely,

ete Brykyta K. Shelton, Chief

Records Creation and Retention Division
Office of Records Management
Passport Services

ca a 4
Date. . _—-AUG. A + 2028

SBU -PRIVACY OR PII
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Case 9:23-cr-80219-AMC Document 93-1 Entered on FLSD Docket, 09/17, 112024, Page 6 of 9

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APPLICATION FOR A U.S. PASSPORT Seta BURDEN er

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PATRICIA GALE
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Chy Stats Zip Code Country, ( outside the United States)
SAN MARCOS CA 92078

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ame of Applicant (lest Fos! & Moe Date of Birth (rnwakiyyyy)

‘DOUGLAS, PATRICIA GALE 07 Miss
40, Parental Information

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FOIA(b)(6)

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21, Have you ever applied for of been issued a U.S. Pasapon Book or Pasaport Card? (| ¥) Yes hie

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PATRICIA GALE DOUGLAS a 04/01/1977

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Case 9: SMe yeep 93-1 Entered on FLSD Docket09/T 7/2024 5 Page 8 of 9

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Case 9: 23-cr-80219-AMG, Rocyment 93-4 nAptergdjon FLSD Docket, 09/1 212024, Page 9-of 9

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County pf Cook, \

j Se 1. BARRETT, G mity Clerk of the County of Conk, in the State af atsaid,

and Keeper of the Records and Files of said County, do hereby certify that the attached is a

true and correct copy of the original Record on file, all of which appears from the reterds and
files in my office

ei IN Ww TTNESS WHEREOF, I have hereunto et my hand and

afized the Seal af the County of Cook, at my office in the City of Chicago,

o sud County
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Kitavah ff Deer P Oh
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County Clerk

arenes

